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 1                               UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 SCOTT NICOLAISEN,                                         Case No.: 2:19-cv-01691-APG-EJY

 4           Plaintiff                                      Order for Stipulation of Dismissal or
                                                                       Status Report
 5 v.

 6 BIOMET, INC., et al.,

 7           Defendants

 8         In April 2020, the parties informed the court they had reached a settlement, but no

 9 stipulation of dismissal has been filed.

10         I THEREFORE ORDER that by November 17, 2020, the parties shall file either a

11 stipulation of dismissal or a status report. The failure to do so will result in dismissal of this

12 case.

13         DATED this 2nd day of November, 2020.

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                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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